                     UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          SOUTHERN DIVISION
                           7:24-cv-00056-BO-BM

 NATONYA OWENS,                          )
                                         )
        Plaintiff,                       )
 v.                                      )             RULE 502(D) ORDER
                                         )
 THE UNIVERSITY OF NORTH                 )
 CAROLINA AT PEMBROKE,                   )
                                         )
        Defendant.                       )



       1.     The production of privileged or work-product protected documents,

electronically stored information (“ESI”), or other information, whether inadvertent

or otherwise, is not a waiver of the privilege or protection from discovery in this case

or in any other federal or state proceeding. This Order shall be interpreted to provide

the maximum protection allowed by Federal Rule of Evidence 502(d).

       2.     Nothing contained herein is intended to or shall serve to limit a party’s

right to conduct a review of documents, ESI, or other information (including

metadata) for relevance, responsiveness, and/or segregation of privileged and/or

protected information before production.

       SO ORDERED this the ___ day of April, 2025.



                                                 ____________________________________
                                                 United States District Court Judge




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